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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                         March 19, 2024
                                 SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

                                                                 )
In re:                                                           )   Chapter 11
                                                                 )
LOIS BUSINESS DEVELOPMENT                                        )   Case No. 22-90267 (MI)
CORPORATION,1                                                    )
                                                                 )   (Formerly Jointly Administered Under Lead
                                    Reorganized Debtor.          )   Case Cineworld Group plc, Case No. 22-
                                                                 )   90168)

          ORDER (A) ALLOWING CERTAIN PERSONAL INJURY CLAIMS, AND
                        (B) GRANTING RELATED RELIEF
                              (Related Docket No. 223)

          Upon the motion (the “Motion”)2 of the Cineworld Litigation Trust (the “Trust”) formed

pursuant to the confirmed Plan of the above-captioned debtors (collectively, the “Debtors”), for

entry of an order (this “Order”): (i) Allowing the Subject Claims identified on Schedule 1 hereto

as Class 5B General Unsecured Claims in the face amount of such claims, as identified in

Schedule 1 in full and final satisfaction of such Claims as and against the Trust, the Debtors’

estates and the Reorganized Debtors; (ii) Allowing the Subject Claims identified on Schedule 2

hereto as Class 5B General Unsecured Claims, as consensually modified therein, in full and final

satisfaction of such Claims as and against the Trust, the Debtors’ estates and the Reorganized

Debtors; (iii) requiring Holders of the Subject Claims, to the extent litigation has been initiated,

to dismiss or otherwise withdraw such litigation with prejudice against the Debtors and/or

Reorganized Debtors; and (iv) granting related relief, all as more fully set forth in the

Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334


1
     The location of Reorganized Debtor Lois Business Development Corporation’s principal place of business and
     the Debtors’ service address in these chapter 11 cases is 8th Floor Vantage London, Great West Road,
     Brentford, England, TW8 9AG, United Kingdom.
2
     A capitalized term used but not otherwise defined herein shall have the meaning given to it in the Motion.



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and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)

(2); and this Court having found that it may enter a final order consistent with Article III of

the United States Constitution; and this Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the

best interests of the estates, their creditors, and other parties in interest; and this Court having

found that the notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion; and this Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor;



          IT IS HEREBY ORDERED THAT:

          1.        The PI Claims identified in Schedules 1 & 2 hereto (collectively, the “Subject

Claims”) are hereby Allowed, as applicable, (i) as Class 5B General Unsecured Claims in the

amounts identified in Schedule 1, or (ii) as Class 5B General Unsecured Claims in the amounts

and against the Debtor identified in the “Modified Claim Amount” and “Modified Debtor”

columns of Schedule 2, respectively, in full and final satisfaction of such Claims as and against

the Trust, the Debtors, and their estates.

          2.        For the avoidance of doubt, the Subject Claims will be paid in accordance with

the terms of the Plan, as and when distributions, if any, to such claims are made.

          3.        Kroll Restructuring Administration LLC, as claims, noticing, and solicitation



                                                   2
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agent, is authorized and directed to update the claims register in these chapter 11 cases to reflect

the relief granted in this Order.

          4.        No later than 30 days following entry of this Order, the Holders of the Subject

Claims shall cause any pending litigation underlying the Subject Claims to be dismissed or

otherwise withdrawn, with prejudice, as to all Debtors, their estates, and the Reorganized

Debtors.

          5.        Nothing in this Order shall obligate the Trust, Reorganized Debtors, the Holders

of the Subject Claims, or any insurance carrier to settle or pursue settlement of any particular

Claim.

          6.        Nothing in this Order, nor any actions taken pursuant hereto, shall constitute

admissible evidence against any party in any action or proceeding other than one to enforce the

terms of this Order.

          7.        The limited relief set forth herein shall not be construed as an admission of

liability by the Trust, Debtors, or Reorganized Debtors regarding any claim or cause of action

arising from or in relation to the Subject Claims or any other matter.            The Debtors and

Reorganized Debtors deny any and all liability and wrongdoing. This Order represents the

compromise and resolution of a disputed claim.

          8.        For the avoidance of doubt, nothing in this Order shall be construed as an

agreement to treat any damages or expenses resulting or arising from the Subject Claims, or

commencement and prosecution thereof, as post-petition claims. For the further avoidance of

doubt, nothing in this Order shall be construed to alter treatment of any liquidated Claim under

the Plan.




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          9.        Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (i) an admission as to the validity of any claim

against the Trust, Reorganized Debtors or Debtors, as applicable, (ii) a waiver of the Trust’s, the

Reorganized Debtors,’ or any appropriate party-in-interest’s rights to dispute the amount of,

basis for, or validity of any claim, (iii) a waiver of the Trust’s, the Reorganized Debtors’, or any

other party-in-interest’s rights under the Bankruptcy Code or any other applicable non-

bankruptcy law, or (iv) an approval, adoption, assumption, or rejection of any agreement,

contract, program, policy, or lease under section 365 of the Bankruptcy Code. For the avoidance

of doubt, the Trust’s rights to object to any Claim filed by the Holders of the Subject Claims,

other than the Subject Claims, on any grounds whatsoever are expressly preserved.

          10.       Notice of the Motion as provided therein is hereby deemed good and sufficient

notice of such Motion, and the requirements of the Bankruptcy Rules and the Bankruptcy Local

Rules are satisfied by such notice.

          11.       The Trust, Reorganized Debtors, the Holders of the Subject Claims, and any

insurance carrier affected by this Order are authorized to take all actions necessary or appropriate

to effectuate the relief granted herein.

          12.       This Court retains exclusive jurisdiction and power with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.


 Signed:
Dated:   March
         October19,
                 17,2024
       ___________,  2018
                     2024

                                                 MARVIN____________________________________
                                                         ISGUR
                                                                      Marvin IsgurJUDGE
                                                 UNITED STATES BANKRUPTCY
                                                            United States Bankruptcy Judge




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Schedule 1:                                                                                                            In re: LOIS BUSINESS DEVELOPMENT CORPORATION
                                                           Case No. 22-90267 (MI) (Formerly Jointly Administered Under Lead Case Cineworld Group plc, Case No. 22-90168)


                                                                                                                                                            Asserted
                                                                                          Claims to be
              Original Creditor                                                                                    Debtor                 Date Filed     Unliquidated
                                                                                            Allowed
                                                                                                                                                         Claim Amount

    1         Bernard, Ernest                                                                 610        Regal Entertainment Group        11/2/2022         $190,000.00
              Address on File
    2         Bogle, David                                                                   2454        Regal Entertainment Group        1/17/2023        $240,000.00
              Address on File
    3         Cerussi and Gunn P.C.                                                           734            Regal Cinemas, Inc.         11/19/2023          $75,000.00
              300 Garden City Plaza, Ste. 308
              Garden City, NY 11530
    4         Charipar, Charlotte                                                            2090            Regal Cinemas, Inc.          1/16/2023          $50,000.00
              Address on File
    5         Fletcher-Matthews, Laquitta                                                     940            Regal Cinemas, Inc.          12/1/2022          $30,000.00
              Address on File
    6         Floyd, Pamela                                                                  1397            Regal Cinemas, Inc.          1/9/2023         $100,000.00
              Address on File
    7         Holland, Willa Mae                                                             1000            Regal Cinemas, Inc.          12/5/2022          $74,000.00
              Address on File
    8         Jardine, Robyn                                                                 1156        Regal Cinemas Holdings, Inc.    12/19/2022          $25,000.00
              Address on File
    9         Junga, Michael                                                                 1690            Regal Cinemas, Inc.          1/12/2023        $275,000.00
              Address on File
   10         Lingelbach, Suzanne                                                            1703            Regal Cinemas, Inc.          1/12/2023          $60,000.00
              Address on File
   11         Lopez, Yasmin                                                                  1268            Regal Cinemas, Inc.         12/28/2022          $30,000.00
              Address on File
   12         Mramer, Luke                                                                   1134        Regal Entertainment Group       12/14/2022          $50,000.00
              Address on File
   13         Ogundipe, Wanda                                                                 812        Regal Entertainment Group       11/21/2022        $100,000.00
              Address on File
   14         Paul, Alyssa                                                                   2074        Regal Entertainment Group        1/17/2023        $250,000.00
              Address on File
   15         Paul, Zachary                                                                  2148        Regal Entertainment Group        1/17/2023        $250,000.00
              Address on File
   16         Perez, Crystal                                                                 1385            Regal Cinemas, Inc.          1/6/2023         $201,300.00
              Address on File
   17         Rodriguez, Luz                                                                 1893            Regal Cinemas, Inc.          1/15/2023        $200,000.00



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Schedule 1:                                                                                                              In re: LOIS BUSINESS DEVELOPMENT CORPORATION
                                                             Case No. 22-90267 (MI) (Formerly Jointly Administered Under Lead Case Cineworld Group plc, Case No. 22-90168)


                                                                                                                                                              Asserted
                                                                                            Claims to be
              Original Creditor                                                                                     Debtor                  Date Filed     Unliquidated
                                                                                              Allowed
                                                                                                                                                           Claim Amount

              Address on File
   18         Valdez, James                                                                    1499        Regal Entertainment Group        1/11/2023          $75,000.00
              Address on File
   19         Westcott, Patrick                                                                1393            Regal Cinemas, Inc.          1/9/2023           $24,002.61
              Address on File
              Total Claims to be Allowed:                                                       19                                                          $2,299,302.61




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Schedule 2:                                                                                                                           In re: LOIS BUSINESS DEVELOPMENT CORPORATION
                                                                          Case No. 22-90267 (MI) (Formerly Jointly Administered Under Lead Case Cineworld Group plc, Case No. 22-90168)


                                                                                                                                                           Asserted
                                                                 Claims to be                                                                                        Modified Claim
          Original Creditor                                                                   Debtor              Modified Debtor        Date Filed     Unliquidated
                                                                   Allowed                                                                                             Amount
                                                                                                                                                        Claim Amount
    1     Johnson, Claressa May                                     1751                Cineworld Group plc      Regal Cinemas, Inc.     1/13/2023       $3,000,000.00    $125,000.00
          Address on File
    2     Walker, Ronald                                            2803                Cineworld Group plc      Regal Cinemas, Inc.     6/13/2023          $50,000.00      $40,000.00
          Address on File
          Total Claims to be Allowed:                                 2                                                                                  $3,050,000.00    $165,000.00




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